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                                        lJNTIED STAYGS DISTRICT COlJRT
                                             Southern District of Florida
                                            299 East Browrud Boulev-rud
                                           Fort Landerd.ale, Florida3330l




    STYLE:

    DATE:

                                                                                                        ',.


    The Cillu_l1be:rs of the Honorable William P. Dimi:trou.le.as h2.s received the attached document
    After review, it has been deterrllin.ed thai this d.ocum.ent requires the following action by the
    Clerk's Office:

    ~--
              Docket this d.ocUID:eJJ..t as a motion for


    _ _ _ Docket this d.Dcmnen.t as a response to the followmg motion:



    - - - Docket this d.Dcumeni as an answer


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               Dockct this d.ocummt as   ---~




    Signed:

    Name:

     Title:
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


              Case No. 17-80203-Cr-DIMITROULEAS/MATTHEWMAN(s)
                                   21 U.S.C. § 841
                                   21 U.S.C. § 846
                                   18 U.S.C. § 2
                                   18 U.S.C. § 924(c)



    UNITED STATES OF AMERICA,

                               Plaintiff,

    vs.

    JOHNNY CLYDE BENJAMIN, JR.,
    ZACHARY STEWART, and
    KEVAN GEORGE SLATER,

                               Defendants.
    ----------------------------'

                                    SUPERSEDING INDICTMEN"      tee~~

          THE GRAND JURY CHARGES THAT:

                                            COUNT 1

          From in or around March 2016, through on or about September 3, 201 b, u. , 'aim
                               ..
    Beach County, in the Southern District of Florida and elsewhere, the defendants,

                              JOHNNY CLYDE BENJAMIN, JR.,
                                  ZACHARY STEWART,
                                         and
                                KEVAN GEORGE SLATER,

    did knowingly and willfully combine, conspire, confederate and agree with each. another,
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    and with persons both known and unknown to the Grand Jury, to possess with intent to

    distribute a controlled substance, in violation of Title 21, United States Code, Section

    841(a)(1); all in violation of Title 21, United States Code, Section 846.

            Pursuant to Title 21, United States Code, Section 841 (b)(1 )(C), it is further alleged

    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of furanyl fentanyl, a controlled substance analogue as defined in

    Title 21, United States Code, Section 802(32)(A), that was intended for human

    consumption, as provided in Title 21, United States Code, Section 813.

            It is further alleged pursuant to Title 21, United States Code, Section 841 (b )(1 )(C),

    that death resulted to M.C. from the use of such substance on or about September 1,

    2016.

                                              COUNT2

            Between on or about August 29, 2016, and on or about September 1, 2016, in

    Palm Beach County, in the Southern District of Florida and elsewhere, the defendants,
                                              -
                                 JOHNNY CLYDE BENJAMIN, JR.,
                                     ZACHARY STEWART,
                                            and
                                   KEVAN GEORGE SLATER,

    did knowingly and intentionally distribute a controlled substance to M.C., in violation of

    Title 21, United States Code, Section 841 (a)(1 ), and Title 18, United States Code, Section

    2.

            Pursuant to Title 21, United States Code, Section 841 (b)(1 )(C), it is further alleged

    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of furanyl fentanyl, a controlled substance analogue as defined in

                                                   2
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     Title 21, United States Code, Section 802(32)(A), that was intended for human

    consumption, as provided in Title 21, United States Code, Section 813.

            It is further alleged pursuant to Title 21, United States Code, Section 841 (b)(1 )(C),

    that death resulted to M.C. from the use of such substance on or about September 1,

    2016.

                                               COUNT 3

            Between on or about October 5, 2017, through on or about October 6, 2017, in

    Indian River County, in the Southern District of Florida and elsewhere, the defendant,

                                 JOHNNY CLYDE BENJAMIN, JR.,

    did knowingly and intentionally attempt to possess with intent to distribute a controlled
              ..   ;



    substance, in violation of Title 21, United States Code, Section 841 (a)(1 ); all in violation

    of Title 21, United States Code, Section 846.

            Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged

    that this violation involved the attempted possession of a mixture and substance

    containing a detectable amount of Acetyl Fentanyl.

                                              COUNT4

            Between on or about October 5, 2017, through on or about October 6, 2017, in

    Indian River County, in the Southern District of Florida _and elsewhere, the defendant,

                               'JOHNNY CLYDE BENJAMIN, JR.,

    did knowingly possess one or more firearms, to wit, a Diamondback Model DB380, .380

    caliber semi-automatic pistol, and a Kei-Tec Model P32, .32 caliber semi-automatic pistol,

    in furtherance of a drug trafficking crime as set forth in Count 3 above, for which the


                                                   3
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     defendant may be prosecuted in a court of the United States.

           In violation of Title 18, United States Code, Section 924(c)(1)(A}.

                                              COUNT 5

           On or about October 12, 2017, in Indian River County, and in the Southern

    District of Florida, the defendant,

                                JOHNNY CLYDE BENJAMIN, JR.,

    did knowingly and intentionally possess with intent to distribute a controlled substance in

    violation of Title 21, United States Code, Section 841 (a)(1 ).

           Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged

    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of Oxycodone.

                                              COUNT 6

           On or about October 12, 2017, in Indian River County, and in the Southern

    District of Florida, the defendant,
                                             -
                                JOHNNY CLYDE BENJAMIN, JR.,

    did knowingly possess one or more firearms, to wit:

           a.     One (1) Glock Model 43, 9 mm caliber semi-automatic pistol;

           b.     One ( 1) Smith & Wesson Model SW9F, 9 mm caliber semi-automatic pistol;

           c.     One (1) Ruger Model SR9C, 9 mm caliber semi-automatic pistol;

           d.     One (1) Ruger Model P-94, .40 caliber semi-automatic pistol;

           e.     One (1) Taurus Model PT-58S, .380 caliber semi-automatic pistol;

           f.     One (1) Glock Model 33, .357 caliber semi-automatic pistol;


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           g.     One (1) Glock Model 19, 9 mm semi-automatic pistol;

           h.     One (1) Glock Model 21, .45 caliber semi-automatic pistol;

           i.     One (1) Glock Model 37, .45 caliber semi-automatic pistol;

           j.     One (1) Taurus Model "Public Defender/Judge," .45/.410 caliber revolver;

           k.     One (1) Heckler & Koch Model USP Compact, .40 caliber semi-automatic

                  pistol;

           I.     Two (2) SIG-SAUER (SIGARMS) Model P-238, .380 caliber semi-automatic

                  pistols; and,

           m.     One (1) Mossberg Model 590, 12 gauge pump-action shotgun

    in furtherance of a drug trafficking crime as set forth in Count 5 above, for which the

    defendant may be prosecuted in a court of the United States.

           In violation of Title 18, United States Code, Section 924(c)(1 )(A).

                                             COUNT 7

           Between on or about January 19, 2016, and on or about October 21, 2016, in
                                             --
    Indian River County, in the Southern District of Florida and elsewhere, the defendants,

                                  JOHNNY CLYDE BENJAMIN, JR.,
                                      ZACHARY STEWART,
                                             and
                                    KEVAN GEORGE SLATER,

    did knowingly and willfully combine, conspire, confederate and agree with each another,

    and with other persons both known and unknown to the Grand Jury, to possess with intent

    to distribute a controlled substance, in violation of Title 21, United States Code, Section

    841(a)(1 ); all in violation of Title 21, United States Code, Section 846.
                                                                                                      -J


           Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged

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    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of Hydrocodone.

          Pursuant to Title 21, United States Code, Section 841 (b)(1 )(C), it is further alleged

    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of Oxycodone.


                                                      A TRUE BILL:




     ROLANDO GARCIA
     ASSISTANT UNITED STATES ATTORNEY.




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    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of Hydrocodone.

          Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged

    the controlled substance involved in this offense was a mixture and substance containing

    a detectable amount of Oxycodone.


                                                      A TRUE BILL:




    ROLANDO GARCIA
    ASSISTANT UNITED STATES ATTORNEY
